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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

In re:

Virginia S Hornaday                                              Case No.: 18-24483-JKO
                                                                 Chapter 13
                Debtor(s).
                                    /

   DEBTOR'S RENEWED OBJECTION TO CLAIM 3 OF BANK OF AMERICA N.A.
                     ON SHORTENED NOTICE AND
   CERTIFICATE OF SERVICE OF COURT GENERATED NOTICE OF HEARING

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor objects to the
following claim filed in this case:

                              CLAIM 3: BANK OF AMERICA N.A.

Claim is for an deficiency for a second mortgage equity loan related to the residential real property
foreclosure of 1321 SW 18th Street, Fort Lauderdale, FL 33315. This property was foreclosed by the
first mortgage lender and the Debtor has not owned the property since May 14, 2014 when the
certificate of title was entered. Creditor has failed to file any deficiency lawsuit prior to the filing of
this case. Pursuant to Florida Statute 95.11(5)(h), the Statute of Limitations period for deficiencies
based on a claim from the foreclosure of a residential property is ONE (1) year. It has been more
than 4.5 years prior to the filing of the Chapter 13 petition that the Debtor lost the property in the
foreclosure action.

The claim should be stricken and disallowed.


The undersigned acknowledges that this objection and the notice of hearing for this objection
will be served on the claimant and the debtor at least 14 calendar days prior to the confirmation
hearing date and that a certificate of service conforming to Local Rule 2002-1(F) must be filed
with the court when the objection and notice of hearing are served.
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                                        CERTIFICATE OF SERVICE

I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of Florida
and I am in compliance with the additional qualifications to practice in this court set forth in Local Rule 2090-1.

       I hereby certify that a copy of the foregoing Objection and Notice of Hearing subsequently
generated by the court after the filing of the instant motion was served in the manner described
below, on December 19, 2019 , upon:

Via CM/ECF:

Keith S Labell on behalf of Creditor WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A
CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM
MORTGAGE ACQUISITION TRUST
klabell@rasflaw.com, klabell@rasflaw.com

Wanda D Murray on behalf of Creditor Bank of America, NA
ecfflsb@aldridgepite.com, WMurray@ecf.courtdrive.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov
ReShaundra M Suggs on behalf of Creditor Seterus, Inc
BKECF@clegalgroup.com, ReShaundra.suggs@clegalgroup.com

ReShaundra M Suggs on behalf of Creditor Wilmington Savings Fund Society, FSB,
BKECF@clegalgroup.com, ReShaundra.suggs@clegalgroup.com

Robin R Weiner
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                                     /s/ Mitchell J. Nowack
                                     MITCHELL J. NOWACK, ESQ.
                                     Florida Bar Number: 099661
